        Case 3:22-cv-03070-TSH Document 37 Filed 07/24/23 Page 1 of 2




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 3                                                       FILED
 4
                                                            Jul 24 2023
 5
                                                        Mark B. Busby
 6
                                                  CLERK, U.S. DISTRICT COURT
 7                                             NORTHERN DISTRICT OF CALIFORNIA
                                                       SAN FRANCISCO
 8

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10
                                 UNITED STATES DISTRICT COURT
11
             NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
12
13
     United States of America,                 Case No. 3:22-3070
14
                    Plaintiff,                 [PROPOSED] ORDER GRANTING
15
                                               STIPULATED REQUEST FOR ORDER
16          vs.                                CHANGING TIME

17 Twitter, Inc.,                              The Hon. Thomas S. Hixson
18                  Defendant.
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                                                                           Case No. 3:22-cv-3070
                                                                           [PROPOSED] ORDER
       Case 3:22-cv-03070-TSH Document 37 Filed 07/24/23 Page 2 of 2




 1 [PROPOSED] ORDER GRANTING STIPULATED REQUEST FOR ORDER CHANGING
                                               TIME
 2
          Pending before the Court is
 3
   on
 4
   Order & Relief From Consent Order (ECF No. 17), which is presently scheduled for November 2,
 5
   2023, at 11:00 AM.
 6
          It is hereby ORDERED that the          Stipulated Request for an Order Changing Time is
 7
   GRANTED.
 8
   Order (ECF No. 17) is continued to ___________________     11:00am in Courtroom E, 15th Floor,
                                        November 16, 2023 at _______
 9
   450 Golden Gate Avenue, San Francisco, California. This is an in person hearing.
10
          IT IS SO ORDERED.
11

12         Dated:   July 24, 2023
                                                        ___________________________________
13                                                      HON. THOMAS S. HIXSON
14                                                      UNITED STATES MAGISTRATE JUDGE

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                                                  -2-                           Case No. 3:22-cv-3070
                                                                                [PROPOSED] ORDER
